Case 2:04-cr-20241-.]DB Document 71 Filed 04/26/05 Page 1 of 2 PagelD 65

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Foa THE wEsTEnN DlsTRlcT oF TENNESSEE: ,_,__, , _
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UNlTED STATES OF A|VlERlCA, Wr_) O`r ri\a irit..vla»H 3
Plaintiff

VS.
CR. NO. 04-20241-8

JA|VlES SCRUGGS, RANELLE SCRUGGS,

Defendants.

 

ORDER ON CONT|NUANCE AND SPEC|FYING PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on April 25, 2005. At that time, counsel for the
defendant requested a continuance of the l\/lay 2, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to June 6, 2005 with a r_epo_rt
date of Tuesdav. Nlav 31. 2005. at 9:30 a.m., in Courtroom 1. 1'lth Floor of the Federal
Building, l\/lemphis, TN.

The period from lVlay 13, 2005 through June 17, 2005 is excludable under 18
U.S.C. § 31 61 (h)(B)(B)(iv) because the ends ofjustice served in allowing for additional time
to prepare outweigh the need for a s£eedy trial.

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This notice confirms a copy of the document docketed as number 71 in
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Honorable J. Breen
US DISTRICT COURT

